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       PSJ4 SOL Opp Exh 11
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Abu Dhabi   Frankfurt      Munich          Shanghai
Beijing     Hong Kong      New York        Singapore
Berlin      Johannesburg   Paris           Stockholm
Brussels    London         Rome            Vienna
Dallas      Milan          San Francisco   Washington, D.C.
Dubai       Mumbai         São Paulo




Purdue Pharma
Crisis Keywords
Reputation management through
targeted paid search advertisements
March 2016
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Paid Search Advertising                                                                       © Brunswick 2016


Background


 By purchasing highly-targeted strings of keywords that people are likely to use to find
  out more information about the articles, we can ensure that PurduePharmaFacts.com
  is at the top of a user’s search results.

 We’ve tailored the recommendation to capture only people searching for information
  related to the LA Times articles and to not interfere with Purdue’s marketing efforts
  surrounding OxyContin or spark curiosity where there was none before.

 Following publication, Brunswick will work and hand-in-hand with you to refine the
  list of keywords and develop ad text based on the exact contents of the article.




                                                                                                            2
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Keyword Buckets                                        Keywords
LA Times/Purdue                                         •   Purdue LA Times
                                                        •   Purdue Los Angeles Times
                                                        •   Purdue Pharma LA Times
                                                        •   Purdue Pharma Los Angeles Times
LA Times/Oxycontin/Oxycodone                            •   OxyContin LA Times
                                                        •   OxyContin Los Angeles Times
                                                        •   Oxycodone LA Times
                                                        •   Oxycodone Los Angeles Times
Sunshine study                                          •   Dr. Abraham Sunshine
                                                        •   Sunshine study
                                                        •   Sunshine study oxycodone
                                                        •   Sunshine study OxyContin




   Sample search ads:
 Keyword list and ad text to be refined
  based upon final contents of article.
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Keyword Buckets                                        Keywords
Region Zero                                             •   Region zero
                                                        •   Region 0
                                                        •   Purdue region zero
                                                        •   Purdue region 0
Diversion                                               • OxyContin diversion
                                                        • Oxycodone diversion
                                                        • Purdue diversion
Opioids                                                 •   Opioids LA Times
                                                        •   Opioids Los Angeles Times
                                                        •   Purdue opioids
                                                        •   Purdue Pharma opioids
Purdue/DEA                                              • Purdue DEA




   Sample search ads:
 Keyword list and ad text to be refined
  based upon final contents of article.
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